        3:19-cv-03123-JES-TSH # 1             Page 1 of 28                                           E-FILED
                                                                        Wednesday, 08 May, 2019 03:34:11 PM
                                                                               Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION


ROBERT SHINALL and TERESA JACKSON, )
                                   )
              Plaintiffs,          )
                                   )                           Case No.: 19-cv-03123
              v.                   )
                                   )
PEKIN MEMORIAL HOSPITAL, d/b/a     )
UNITYPOINT HEALTH-PEKIN,           )
                                   )
              Defendant.           )


                                           COMPLAINT

       Plaintiffs, Robert Shinall and Teresa Jackson, by their attorneys, Jennifer M. Sender and

Andrés J. Gallegos of Robbins, Salomon & Patt, Ltd., for their Complaint against Defendant

Pekin Memorial Hospital, d/b/a UnityPoint Health - Pekin (“UnityPoint,” or the “Defendant”),

an Illinois not-for-profit corporation, state as follows:


                                  JURISDICTION AND VENUE

       1.      This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as the

Plaintiffs’ claims alleged herein arise under Title III of the Americans with Disabilities Act

(“ADA”), 42 U.S.C. §§ 12181–12189; Section 504 of the Rehabilitation Act of 1973 (the

“Rehabilitation Act”), 29 U.S.C. § 794, et seq.; and Section 1557 of the Patient Protection and

Affordable Care Act (“Section 1557”), 42 U.S.C. § 18116. Injunctive relief is authorized by Rule

65 of the Federal Rules of Civil Procedure.


       2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b). All of the events

or omissions giving rise to Plaintiffs’ claims occurred in this district.
          3:19-cv-03123-JES-TSH # 1              Page 2 of 28



                                              THE PARTIES


         3.         Plaintiff, Robert Shinall (“Robert”), is an adult and has been profoundly deaf

since birth. Robert’s primary and predominant means of communication is through American

Sign Language (“ASL”). Robert has a limited ability to understand written English language, he

can read and write English at the fourth-grade level, and he does not lip read. He is a person with

a disability within the meaning of all applicable statutes. Robert resides in Pekin, Illinois, with

his girlfriend, Teresa Jackson.


         4.         Plaintiff, Teresa Jackson (“Teresa”), is an adult and is Robert’s girlfriend. Teresa

has been profoundly deaf since birth. Teresa’s primary and predominant means of

communication is through ASL. She has a limited ability to understand written English language,

she can read and write English at the fourth-grade level, and she does not lip read. She is a

person with a disability within the meaning of all applicable statutes. Teresa resides with Robert

Shinall in Pekin, Illinois.


         5.         UnityPoint Health - Pekin is an Illinois not-for-profit corporation and is a regional

acute care medical center located in Pekin, Illinois, which serves the residents of central and

western Illinois area. UnityPoint Health - Pekin is one of 29 hospitals of the UnityPoint Health

System. UnityPoint Health – Pekin hospital is the only hospital in Pekin. It is approximately 2

miles from Robert’s home.


                                      FACTUAL BACKGROUND


         6.         The deaf community struggles with significant health disparities and is often

excluded from health surveillances, outreach programs and mass media healthcare messages.



                                                      2
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1               Page 3 of 28



Deaf users of ASL, through cultural and language barriers, are at high risk for poor health

knowledge and inequitable access to medical care in our health system. These barriers directly

translate to inadequate assessment, limited access to treatment, insufficient follow-up and poorer

outcomes. For example, as compared with the hearing population, for the deaf population there

are lower rates of individuals accessing preventative services, worse cardiovascular health

outcomes and higher rates of diabetes and obesity. 1 ASL is the primary language for many

people who are deaf; however, interpreters are often not provided during medical visits.

         7.         UnityPoint’s denial to plaintiffs of full and equal access to its healthcare services

manifests itself in several fundamental ways: (1) failure to provide appropriate auxiliary aids and

services, like qualified ASL interpreters and devices, or other means to effectively communicate

with patients and companions of patients who are deaf; (2) inadequate policies and procedures to

accommodate the plaintiffs’ disability; and (3) failure to properly train appropriate staff on the

use of video remote interpreting (“VRI”) equipment. These violations deprived the plaintiffs of

the full and equal access to defendant’s services and denied plaintiffs the equal opportunity to

participate in Robert’s healthcare, in violation of the ADA, the Rehabilitation Act and Section

1557.

         8.         UnityPoint failed to implement policies, practices and procedures that meet its

enhanced federal communication access mandate, which if followed would provide plaintiffs an

equal opportunity to participate in its services and in healthcare services provided to Robert, as

required by Section 1557. 45 C.F.R. § 92.202.

         9.         UnityPoint is a public accommodation within the meaning of the ADA, and a

covered entity within the meaning of Section 1557.

1
 See Schoenborn, M.P.H., et al., Health Disparities Among Adults with Hearing Loss: United States, 2000 – 2006,
Center for Disease Control and Prevention, Health E-Stats. Available at:
http://www.cdc.gov/nchs/data/hestat/hearing00-06/hearing00-06.htm

                                                       3
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1                Page 4 of 28



         10.        UnityPoint participates in one or more Medicare and Medicaid healthcare plans

with third-party payers and is a participating provider under Medicare and Medicaid.

Approximately 80% of UnityPoint’s inpatients are Medicaid and Medicare recipients; and

approximately 65% of its outpatients are Medicaid and Medicare recipients. As a result thereof,

UnityPoint is a recipient of federal financial assistance within the meaning of the Rehabilitation

Act and a covered entity under Section 1557. 2

         11.        UnityPoint failed to provide Robert with auxiliary aids and services to allow him

to effectively communicate with UnityPoint’s medical and nursing staff during numerous vital

encounters in connection with Robert’s five visits to the emergency department and his two

hospitalizations there in October and November of 2017, which did not allow him to participate

in his own care. Further, UnityPoint failed to also provide Teresa with auxiliary aids and services

to allow her to effectively communicate with UnityPoint's doctors, nurses and staff when she

visited Robert in the hospital during numerous vital encounters in connection with medical

services that Robert received at UnityPoint. As UnityPoint noted in Robert’s medical records,

Teresa is fairly involved Robert’s care. By failing to provide auxiliary aids and services to permit

Robert and Teresa to achieve effective communication during numerous vital encounters with its

doctors and nurses, UnityPoint jeopardized Robert’s health and well-being.


         12.        On October 27, 2017, Robert presented to Defendant’s emergency department for

pain to his ribs and difficulty breathing. Upon arrival, he asked for an ASL interpreter. The

nurses provided him with paper and pen to communicate. Robert’s dominant hand was restrained

to the hospital bed, so he was forced to write with his non-dominant hand. He was experiencing

2
 Illinois Hospital Report Card and Consumer Guide to Healthcare, Illinois Department of Public Health. Available
at: http://www.healthcarereportcard.illinois.gov/hospitals/view/101214 (60.45% of all inpatients at UnityPoint
Health - Pekin are Medicare recipients, and 17.64% of its inpatients are Medicaid recipients; 37.69% of all of its
outpatients are Medicare recipients, and 27.38% of its outpatients are Medicaid recipients).

                                                         4
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1           Page 5 of 28



significant pain in his ribs and shortness of breath which he struggled greatly to convey to the

Defendant’s doctors and nurses, but could not. He was discharged that night.


         13.        On October 28, 2017, Robert again presented to Defendant’s emergency

department due to chest pains, difficulty breathing, and rib pain. He again requested an ASL

interpreter, but the Defendant’s staff only provided pen and paper. His medical records for this

visit note his deafness, that he was “fairly difficult to communicate with” and that his medical

history was obtained from his electronic record, which was sparse. After x-rays disclosed that

Robert had a collapsed lung and rib fractures, Robert was admitted. He underwent surgery to

place a chest tube. He remained in Defendant’s hospital until November 1, 2017. Despite

Robert’s numerous requests for an ASL interpreter, Defendant did not provide an interpreter at

all during his five-day admission. Instead, Defendant forced Robert to use written notes to

attempt to communicate with doctors, nurses, and staff for all communications, including

discussions of Robert’s medical history and complaints, recommendation for surgery, consent for

surgery, post-surgical complaints, diagnosis, prognosis, and discharge instructions. This

communication was not effective for Robert.


         14.        While Robert was in Defendant’s hospital, Teresa visited frequently. Despite

Teresa’s repeated requests for an ASL interpreter for both Robert and herself, Defendant did not

provide an ASL interpreter for either. She too had difficulty communicating with Defendant’s

doctors and nurses when they came into Robert’s room and she was trying to understand

Robert’s condition so she could explain it to him.


         15.        On November 11, 2017, Robert returned to Defendant’s emergency department

due to difficulty breathing and severe pain. He again requested an ASL interpreter, but


                                                  5
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1           Page 6 of 28



Defendant only provided him with pen and paper to communicate. He was admitted to the

hospital for exploratory surgery and replacement of the chest tube. Upon admission, a nurse took

his cell phone, so he had no way to contact Teresa for assistance. Further, after surgery, both of

Robert’s wrists were strapped and restrained to the sides of the bed, and he had no way to

communicate with the staff. Hours later, Robert was able to pull free of the arm restraints and

use the pen and paper to request an ASL interpreter. Defendant still did not provide an

interpreter. When Robert’s phone was returned to him, he was able to contact Teresa who came

to the hospital. During her visit on November 11, 2017, she requested an ASL interpreter from

Defendant’s social worker, but the request was denied.


         16.        During Robert’s hospitalization from November 11, 2017 through November 16,

2017, Defendant ignored his and Teresa’s repeated requests for an ASL interpreter. At one point,

Defendant attempted to use video remote interpreting (“VRI”) equipment, but the transmission

froze and the picture frequently pixelated. As such, the attempted use of VRI was not effective

for Robert. Accordingly, Defendant forced Robert to use written notes to attempt to

communicate with doctors, nurses, and staff for all communications, including discussions of

Robert’s medical history and complaints, recommendation for surgery, consent for surgery, post-

surgical complaints, diagnosis, prognosis, and discharge instructions. This communication was

not effective for Robert.


         17.        On November 20, 2017, based on referral from his primary care provider, Robert

again presented to Defendant’s emergency department for complaints of chest discomfort. Upon

arrival, he requested an ASL interpreter, but yet again, Defendant only provided pen and paper.

He was examined for a couple of hours and then discharged home. He did not understand what

the examination revealed or what was causing his pain.

                                                   6
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1               Page 7 of 28



         18.         On November 29, 2017, Robert once again went to Defendant’s emergency room

with chest wall pain and back pain. Upon arrival, he requested an ASL interpreter, but none was

provided.           In his medical records, the physician recorded, “Patient is deaf; therefore

communication was obtained through writing on paper.” The exchange of written notes was not

effective for Robert. He was examined and discharged home after a few hours.


         19.         Robert’s medical insurance is through Molina Healthcare. UnityPoint, which is

approximately 2 miles from his residence, is an in-network hospital provider under Molina

Healthcare’s plan. As it is the closest hospital to his residence and in-network under his health

insurance plan, Robert intends to continue to utilize UnityPoint.


                                                  COUNT I

     Robert Shinall - Violation of the Americans with Disabilities Act, 42 U.S.C. § 12131

         1-19. Plaintiff incorporates by reference paragraphs 1 through 19.

         20.         Robert’s claims in Count I arise under the Americans with Disabilities Act, 42

    U.S.C. §§ 12101 – 12189 (the “ADA”), and its implementing regulations under Title III,

    applicable to public accommodations, 28 C.F.R. §§ 36.101 – 36.608, which provide in

    pertinent part as follows:

         A.          No individual shall be discriminated against on the basis of disability in the full
                     and equal enjoyment of the goods, services, facilities, privileges, advantages, or
                     accommodations of any place of public accommodation by any person who owns,
                     leases (or leases to), or operates a place of public accommodation. 42 U.S.C. §
                     12182(a); 28 C.F.R. § 36.201.

         B.          It shall be discriminatory to subject an individual on the basis of a disability or
                     disabilities of such individual, directly, or through contractual, licensing, or other
                     arrangements, to a denial of the opportunity of the individual to participate in or
                     benefit from the goods, services, facilities, privileges, advantages, or
                     accommodations of an entity. 42 U.S.C. § 12182(b) (1)(A)(i); 28 C.F.R. §
                     36.202(a).


                                                       7
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1              Page 8 of 28



         C.         It shall be discriminatory to afford an individual, on the basis of a disability or
                    disabilities of such individual, directly, or through contractual, licensing, or other
                    arrangements with the opportunity to participate in or benefit from a good,
                    service, facility, privilege, advantage, or accommodation that is not equal to that
                    afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii); 28 C.F.R. §
                    36.202(b).

         D.         It shall be discriminatory to fail to make reasonable modifications in policies,
                    practices, or procedures, when such modifications are necessary to afford such
                    goods, services, facilities, privileges, advantages, or accommodations to
                    individuals with disabilities, unless the entity can demonstrate that making such
                    modifications would fundamentally alter the nature of such goods, services,
                    facilities, privileges, advantages, or accommodations. 42 U.S.C. § 12182(b)
                    (2)(A)(ii); 28 C.F.R. § 36.302(a).

         E.         The term “public accommodation,” as used in the statute, includes hospitals. 42
                    U.S.C. § 12182(a); 28 C.F.R. § 36.104.

         21.        Pursuant to the statutory directive in 42 U.S.C. § 12186(b), the U.S. Department

of Justice has promulgated regulations to implement Title III’s broad nondiscrimination mandate

with respect to covered entities. One of these regulations, titled “Auxiliary aids and services,”

specifies that “[a] public accommodation shall furnish appropriate auxiliary aids and services

where necessary to ensure effective communication with individuals with disabilities.” 28 C.F.R.

§ 36.303(c)(1). Although “the ultimate decision as to what measures to take rests with the public

accommodation,” the public accommodation “should consult with individuals with disabilities

whenever possible to determine what type of auxiliary aid is needed to ensure effective

communication.” Id. § 36.303(c)(1)(ii). The chosen method must “result[] in effective

communication.” Id. Moreover, to “be effective, auxiliary aids and services must be provided in

accessible formats, in a timely manner, and in such a way as to protect the privacy and

independence of the individual with a disability.” Id.

         22.        The acts and omissions of defendant UnityPoint violated and continue to violate

the ADA and its implementing regulations in one or more or all of the following manners, as

UnityPoint has discriminated against Robert by:

                                                      8
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1              Page 9 of 28



         A.         Denying him the opportunity for the full and equal enjoyment of UnityPoint’s
                    goods, services, facilities, privileges, advantages, or accommodations.

         B.         Denying him the opportunity to participate in or benefit from UnityPoint’s goods,
                    services, facilities, privileges, advantages, or accommodations.

         C.         Offering or affording him services that are not equal to those services afforded to
                    other individuals who are not deaf.

         D.         Failing to make reasonable modifications in policies, practices, or procedures,
                    which are necessary to afford UnityPoint’s goods, services and facilities to Robert
                    where such modifications would not fundamentally alter the nature of its goods,
                    services or facilities.

         E.         Intentionally failing to provide plaintiff appropriate auxiliary aids and services to
                    achieve effective communications and to participate in his own healthcare.

         F.         Otherwise having discriminated against the plaintiff because of his disability.

         23.        As a proximate result of Defendant’s violations of the ADA, UnityPoint has

inflicted injury and damages upon the Plaintiff, including loss of a civil right, mental anguish,

humiliation, and mental pain and suffering.

         24.        UnityPoint’s conduct constitutes ongoing and continuing violations of the ADA.

Unless restrained from doing so, defendant UnityPoint will continue to violate the ADA. This

conduct, unless enjoined, will continue to inflict injuries on Robert, for which he has no adequate

remedy at law. Therefore, pursuant to section 308 of the ADA (42 U.S.C. § 12188), Robert is

entitled to injunctive relief.

         25.        Plaintiff is entitled to reasonable attorney’s fees and costs, pursuant to 42 U.S.C. §

12205.

         WHEREFORE, plaintiff Robert Shinall prays for the following relief against defendant

UnityPoint:

         A.         A preliminary injunction and a permanent injunction, prohibiting Defendant
                    UnityPoint from violating the ADA, 42 U.S.C. § 12181, et seq., and compelling
                    Defendant to comply with the ADA;



                                                      9
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1              Page 10 of 28



         B.         A declaration that Defendant is operating in a manner which discriminates against
                    the Plaintiff and that Defendant fails to provide communication access to the
                    Plaintiff as required by law;

         C.         An order enjoining Defendant from discriminating against the Plaintiff, requiring
                    Defendant to (i) adopt and implement a legally compliant communication access
                    policy; (ii) make available to Plaintiff an array of auxiliary aids and services; and
                    (iii) provide its appropriate employees training on its communication access
                    policy, the proper utilization of auxiliary aids and services and interacting with
                    persons who are deaf;

         D.         An award of attorneys’ fees and costs; and

         E.         Such other relief as the Court deems just.



                                                 COUNT II

           Robert Shinall - Violation of the Rehabilitation Act of 1973, 29 U.S.C. § 704

         1-19. Plaintiff incorporates by reference the paragraphs 1 through 19.

         20.        At all relevant times herein, Defendant received federal financial assistance in the

form of reimbursement from the federal Medicare and Medicaid programs and is therefore

subject to the anti-discrimination provisions of the Rehabilitation Act, as herein described.

         21.        At all times relevant herein, there was in full force and effect a statute known as

the Rehabilitation Act of 1973, 29 U.S.C. § 701 et sequitur, and its implementing regulations, 45

C.F.R. § 84.4(a). The Section 504 implementing regulation provides that "[n]o qualified

handicapped person shall, on the basis of handicap be excluded from participation in, be denied

the benefits of or otherwise be subjected to discrimination under any program or activity which

receives or benefits from Federal financial assistance." 45 C.F.R. § 84.4(a).

                    A. The regulation further provides:

                    "A recipient, in providing any aid, benefit, or service, may not, ... on the
                    basis of handicap: (ii) Afford a qualified handicapped person an
                    opportunity to participate in or benefit from the aid, benefit or service that
                    is not equal to that afforded others ...”

                                                     10
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1                Page 11 of 28




                    45 C.F.R. § 84.4(b)(1) (ii).

                    B. Elsewhere, the Section 504 regulation states:

                    “In providing health, welfare or other social services or benefits, a
                    recipient may not on the basis of handicap: … (2) Afford a qualified
                    handicapped person an opportunity to receive benefits or services that is
                    not equal to that offered non-handicapped persons.

                    45 C.F.R. § 84.52(a)(2).

                    C. In addition, “[a] recipient hospital that provides health services or benefits

shall establish a procedure for effective communication with persons with impaired hearing for

the purpose of providing emergency health care.” 45 C.F.R. § 84.52(c).

                    D. The regulation further provides:

                    “A recipient to which the subject applies that employs 15 or more persons
                    shall provide appropriate auxiliary aids to persons with impaired sensory,
                    manual, or speaking skills, where necessary to afford such persons an
                    equal opportunity to benefit from the service in question.”

                    45 C.F.R. § 84.52(d)(l).

                    E. The regulation provides that such “auxiliary aids may include interpreters…

and other aids for persons with impaired hearing… 45 C.F.R. § 84.52(d)(3).

                    F. The Section 504 regulation defines a person who has a disability as any person

who:

                    “(i) has a physical or mental impairment which substantially limits one or
                    more major life activities, (ii) has a record of such an impairment, or (iii)
                    is regarded as having such an impairment.”

                    45 C.F.R. § 84.3(j)(l)(i)-(iii).

                    G. A qualified person with a disability, with respect to the provision of health,

welfare and social services, is a person “who meets the essential eligibility requirements for the

receipt of such services.” 45 C.F.R. § 84.3(k)(4).


                                                       11
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1             Page 12 of 28




         22.        Through the acts and omissions alleged herein, UnityPoint has, solely on the basis

of Plaintiff’s disability, excluded Plaintiff from participating in its services, denied Plaintiff the

benefit of its services, denied Plaintiff the opportunity to participate in his healthcare, and

subjected Plaintiff to discrimination in violation of 29 U.S.C. § 794. et seq., and the regulations

promulgated thereunder, and have resulted in injury to Plaintiff.

         23.        At all relevant times herein, UnityPoint knew that Plaintiff had federally protected

rights to effective communication, and Defendant’s acts and omissions alleged herein violated

and continued to violate the Rehabilitation Act and its implementing regulations by one or more

or all of the following manners as defendant has discriminated against Robert by:

                    A.     Denying him the opportunity for the full and equal enjoyment of the
                           services, privileges, advantages, or accommodations of the facilities
                           owned, operated and/or contracted for use by Defendant.

                    B.     Denying him the opportunity to participate in or benefit from the services,
                           facilities, privileges, advantages, or accommodations of Defendant’s
                           facilities.

                    C.     Offering or affording him services that are not equal to those services
                           afforded to other individuals without hearing impairments.

                    D.     Failing to make reasonable modifications in policies, practices, or
                           procedures, which are necessary to afford its services to Plaintiff where
                           such modifications would not fundamentally alter the nature of its
                           services.

                    E.     Failing to establish a procedure for effective communication with Plaintiff
                           for the purpose of providing health care in its emergency room and in his
                           patient rooms.

                    F.     Acting intentionally and with deliberate indifference in failing to provide
                           Plaintiff appropriate auxiliary aids and services, such as an on-site sign
                           language interpreter or effective video remote interpreting services, where
                           the taking of such steps would not fundamentally alter the nature of its
                           offered services or would not result in undue burden.

                    G.     Defendant has otherwise discriminated against the Plaintiff.


                                                     12
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1             Page 13 of 28




         24.        Section 505(a)(2) of the Rehabilitation Act, 29 U.S.C. § 794(a)(2), states that the

“remedies, procedures and that the rights set forth in title VI of the Civil Rights Act of 1964

[being 42 U.S.C. § 2000(d) et sequitur] shall be available” for violations of section 504 of the

Rehabilitation Act. By law, such remedies include compensatory monetary damages. Barnes v.

Gorman, 536 U.S. 181 (2002).

         25.        As a proximate result of Defendant’s violations of Section 504, UnityPoint has

inflicted injury and damages upon the Plaintiff, including loss of a civil right, mental anguish,

humiliation, and mental pain and suffering.

         26.        Plaintiff is entitled to reasonable attorneys’ fees and costs, pursuant to section

505(b) of the Rehabilitation Act, 29 U.S.C. § 794(a), as Defendant’s conduct has inflicted injury

and damages upon Plaintiff, including loss of a civil right, mental anguish, and mental pain and

suffering.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Robert Shinall prays for the following relief:

                    A.     An order enjoining Defendant from discriminating against the Plaintiff,
                           requiring Defendant to (i) adopt and implement a legally compliant
                           communication access policy; (ii) make available to Plaintiff an array of
                           auxiliary aids and services; and (iii) provide its appropriate employees
                           training on its communication access policy, the proper utilization of
                           auxiliary aids and services and interacting with persons who are deaf;

                    B.     A declaration that Defendant is operating in a manner which discriminates
                           against the Plaintiff and that Defendant fails to provide communication
                           access to the Plaintiff as required by law;

                    C.     An award of compensatory monetary damages;

                    D.     An award of attorneys’ fees and costs; and

                    E.     Such other relief as the Court deems just.



                                                    13
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1             Page 14 of 28




                                               COUNT III

  Robert Shinall - Violation of Section 1557 of the Patient Protection and Affordable Care
                                    Act, 42 U.S.C. § 18116

         1-19. Plaintiff incorporates by reference paragraphs 1 through 19.

         20.        Since March 2010, there was in full force and effect a statute known as the Patient

Protection and Affordable Care Act (the “Affordable Care Act”), 42 U.S.C. § 18001, et seq.,

Pub.L. 111-148. Section 1557 of the Affordable Care Act prohibits discrimination on the basis of

race, color, national origin, sex, age, or disability in certain health programs and activities. 42

U.S.C. § 18116. Section 1557’s implementing regulations, 45 C.F.R. §§ 92.1 – 92.203, effective

as of July 18, 2016, apply to health programs or activities administered by recipients of Federal

financial assistance from the Department of Health and Human Services.

         21.        As Defendant participates in Medicare and Medicaid, it is a covered entity subject

to compliance with Section 1557.

         22.        The implementing regulations of Section 1557 prohibit discrimination of an

individual on the basis of disability, inter alia, and prohibit an individual from being excluded

from participation in, denied the benefits of, or otherwise be subjected to discrimination under

any health program or activity. See 45 C.F.R. § 92.101(a)(1). Those regulations, in pertinent part,

require covered entities to:

         A.         Take appropriate initial and continuing steps to notify beneficiaries, enrollees,
                    applicants and members of the public:

                    (1)    that the covered entity does not discriminate on the basis of race, color,
                           national origin, sex, age, or disability in its healthcare programs or
                           activities. 45 C.F.R. §92.8 (a)(1);

                    (2)    that the covered entity provides appropriate auxiliary aids and services,
                           including qualified interpreters for individuals with disabilities and
                           information in alternate formats, free of charge and in a timely manner,


                                                    14
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1            Page 15 of 28



                           when such aids and services are necessary to ensure an equal opportunity
                           to participate to individuals with disabilities. 45 C.F.R. §92.8 (a)(2);

                    (3)    how to obtain aids and services. 45 C.F.R. §92.8 (a)(4);

                    (4)    the identification of, and contact information for, the responsible
                           employee designated to be responsible for adoption of grievance
                           procedures. 45 C.F.R. §92.8 (a)(5);

                    (5)    the availability of grievance procedures and how to file a grievance
                           pursuant to §92.7(b). 45 C.F.R. §92.8 (a)(6); and

                    (6)    how to file a discrimination complaint with the Department of Health and
                           Human Services Office of Civil Rights. 45 C.F.R. §92.8 (a)(7).

         B.         That a covered entity shall take appropriate steps to ensure that communications
                    with individuals with disabilities are as effective as communications with others
                    in health programs and activities, in accordance with the standards found at 28
                    C.F.R. §§ 35.160 through 35.164. 45 C.F.R. § 92.202(a).


28 C.F.R. §§ 35.160 through 35.164 are the communication access standards required of public

entities under Title II of the ADA. Where those regulatory provisions use the term “public

entity,” the term “covered entity” shall apply in its place. See 45 C.F.R. § 92.202(a). As applied

to Section 1557 covered entities, the Title II regulations require them to “take appropriate steps

to ensure that communications with applicants, participants, members of the public, and

companions with disabilities are as effective as communications with others.” 28 C.F.R. §

35.160(a)(1). In addition, a covered entity “shall furnish appropriate auxiliary aids and services

where necessary to afford qualified individuals with disabilities, … companions, … an equal

opportunity to participate in, and enjoy the benefits of, a service, program or activity of a

[covered] entity,” 28 C.F.R. § 35.160(b)(1); and “[i]n determining what types of auxiliary aids

and services are necessary, a [covered] entity shall give primary consideration to the requests of

individuals with disabilities ….” 28 C.F.R. § 35.160(b)(2) (emphasis added).




                                                    15
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1             Page 16 of 28



         23.        Defendant had a duty under Section 1557 to give primary consideration to

Plaintiff’s communication preference and provide him with an ASL interpreter, either on-site or

via effective VRI.

         24.        Defendant’s acts and omissions violated Section 1557 and its implementing

regulations as Defendant did not take appropriate steps to ensure that communications with

Plaintiff were as effective as communications with others in its healthcare services, and

Defendant failed to meet its obligations under Section 1557 and the standards found at 28 C.F.R.

§§ 35.160 through 35.164. 45 C.F.R. § 92.202(a).

         25.        Section 1557’s implementing regulations provide that the enforcement

mechanisms available for and provided under Title VI of the Civil Rights Act of 1964, Section

504 of the Rehabilitation Act, inter alia, shall be available for purposes of Section 1557 as

implemented by this part, and “compensatory damages for violations of Section 1557 are

available in appropriate administrative and judicial actions brought under this rule.” See 45

C.F.R. § 92.301.

         26.        Defendant’s conduct constituted violations of Section 1557.

         27.        Section 505(a)(2) of the Rehabilitation Act, 29 U.S.C. § 794(a)(2), states that the

“remedies, procedures and that the rights set forth in title VI of the Civil Rights Act of 1964

[being 42 U.S.C. § 2000(d) et sequitur] shall be available” for violations of section 504 of the

Rehabilitation Act. By law, such remedies include compensatory monetary damages. Barnes v.

Gorman, 536 U.S. 181 (2002).

         28.        Plaintiff is entitled to reasonable attorneys’ fees and costs, pursuant to section

505(b) of the Rehabilitation Act, 29 U.S.C. § 794a.




                                                    16
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1              Page 17 of 28



                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Robert Shinall prays for the following relief:

         A.         An order enjoining Defendant from discriminating against the Plaintiff, requiring
                    Defendant to (i) adopt and implement a legally compliant communication access
                    policy; (ii) make available to Plaintiff an array of auxiliary aids and services; and
                    (iii) provide its appropriate employees training on its communication access
                    policy, the proper utilization of auxiliary aids and services and interacting with
                    persons who are deaf;

         B.         A declaration that Defendant is operating in a manner which discriminates against
                    the Plaintiff and that Defendant fails to provide communication access to the
                    Plaintiff as required by law;

         C.         An award of compensatory monetary damages;

         D.         An award of attorneys’ fees and costs; and

         E.         Such other relief as the Court deems just.


                                                COUNT IV

     Teresa Jackson - Violation of the Americans with Disabilities Act, 42 U.S.C. § 12131

         1-19. Plaintiff incorporates by reference paragraphs 1 through 19.

         20.        Teresa’s claims in Count IV arise under the Americans with Disabilities Act, 42

    U.S.C. §§ 12101 – 12189 (the “ADA”), and its implementing regulations under Title III,

    applicable to public accommodations, 28 C.F.R. §§ 36.101 – 36.608, which provide in

    pertinent part as follows:

         A.         No individual shall be discriminated against on the basis of disability in the full
                    and equal enjoyment of the goods, services, facilities, privileges, advantages, or
                    accommodations of any place of public accommodation by any person who owns,
                    leases (or leases to), or operates a place of public accommodation. 42 U.S.C. §
                    12182(a); 28 C.F.R. § 36.201.

         B.         It shall be discriminatory to subject an individual on the basis of a disability or
                    disabilities of such individual, directly, or through contractual, licensing, or other
                    arrangements, to a denial of the opportunity of the individual to participate in or
                    benefit from the goods, services, facilities, privileges, advantages, or


                                                     17
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1              Page 18 of 28



                    accommodations of an entity. 42 U.S.C. § 12182(b) (1)(A)(i); 28 C.F.R. §
                    36.202(a).

         C.         It shall be discriminatory to afford an individual, on the basis of a disability or
                    disabilities of such individual, directly, or through contractual, licensing, or other
                    arrangements with the opportunity to participate in or benefit from a good,
                    service, facility, privilege, advantage, or accommodation that is not equal to that
                    afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii); 28 C.F.R. §
                    36.202(b).

         D.         It shall be discriminatory to fail to make reasonable modifications in policies,
                    practices, or procedures, when such modifications are necessary to afford such
                    goods, services, facilities, privileges, advantages, or accommodations to
                    individuals with disabilities, unless the entity can demonstrate that making such
                    modifications would fundamentally alter the nature of such goods, services,
                    facilities, privileges, advantages, or accommodations. 42 U.S.C. § 12182(b)
                    (2)(A)(ii); 28 C.F.R. § 36.302(a).

         E.         The term “public accommodation,” as used in the statute, includes hospitals. 42
                    U.S.C. § 12182(a); 28 C.F.R. § 36.104.

         21.        Pursuant to the statutory directive in 42 U.S.C. § 12186(b), the U.S. Department

of Justice has promulgated regulations to implement Title III’s broad nondiscrimination mandate

with respect to covered entities. One of these regulations, titled “Auxiliary aids and services,”

specifies that “[a] public accommodation shall furnish appropriate auxiliary aids and services

where necessary to ensure effective communication with individuals with disabilities.” 28 C.F.R.

§ 36.303(c)(1). That obligation extends to companions who are deaf. Id. Although “the ultimate

decision as to what measures to take rests with the public accommodation,” the public

accommodation “should consult with individuals with disabilities whenever possible to

determine what type of auxiliary aid is needed to ensure effective communication.” Id.

§ 36.303(c)(1)(ii). The chosen method must “result[] in effective communication.” Id. Moreover,

to “be effective, auxiliary aids and services must be provided in accessible formats, in a timely

manner, and in such a way as to protect the privacy and independence of the individual with a

disability.” Id.


                                                     18
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1             Page 19 of 28



         22.        Despite recognizing Teresa as fairly involved in Robert’s care, and hence an

appropriate person to communicate with regarding that care, Defendant denied her repeated

requests of an interpreter, and left her fending for herself to attempt to understand what was

occurring, what was Robert’s condition, what were the treatment options, plan of care, etc.


         23.        The acts and omissions of Defendant violated and continues to violate the ADA

and its implementing regulations in one or more or all of the following manners, as Defendant

has discriminated against Teresa by:


         A.         Denying her the opportunity for the full and equal enjoyment of UnityPoint’s
                    goods, services, facilities, privileges, advantages, or accommodations.

         B.         Denying her the opportunity to participate in or benefit from UnityPoint’s goods,
                    services, facilities, privileges, advantages, or accommodations.

         C.         Offering or affording her services that are not equal to those services afforded to
                    other individuals who are not deaf.

         D.         Failing to make reasonable modifications in policies, practices, or procedures,
                    which are necessary to afford UnityPoint’s goods, services and facilities to Teresa
                    where such modifications would not fundamentally alter the nature of its goods,
                    services or facilities.

         E.         Intentionally failing to provide Teresa appropriate auxiliary aids and services to
                    achieve effective communications and to participate in Robert’s healthcare.

         F.         Otherwise having discriminated against the plaintiff because of her disability.

         24.        As a proximate result of Defendant’s violations of the ADA, UnityPoint has

inflicted injury and damages upon the Plaintiff, including loss of a civil right, mental anguish,

humiliation, and mental pain and suffering.

         25.        UnityPoint’s conduct constitutes ongoing and continuing violations of the ADA.

Unless restrained from doing so, UnityPoint will continue to violate the ADA. This conduct,

unless enjoined, will continue to inflict injuries on Teresa, for which she has no adequate remedy



                                                     19
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1              Page 20 of 28



at law. Therefore, pursuant to section 308 of the ADA (42 U.S.C. § 12188), Teresa is entitled to

injunctive relief.

         26.        Plaintiff is entitled to reasonable attorney’s fees and costs, pursuant to 42 U.S.C. §

12205.

         WHEREFORE, plaintiff Teresa Jackson prays for the following relief against defendant

UnityPoint Health:

         A.         A preliminary injunction and a permanent injunction, prohibiting UnityPoint from
                    violating the ADA, 42 U.S.C. § 12181, et seq., and compelling Defendant to
                    comply with the ADA;

         B.         An order enjoining Defendant from discriminating against the Plaintiff, requiring
                    Defendant to (i) adopt and implement a legally compliant communication access
                    policy; (ii) make available to Plaintiff an array of auxiliary aids and services; and
                    (iii) provide its appropriate employees training on its communication access
                    policy, the proper utilization of auxiliary aids and services and interacting with
                    persons who are deaf;

         C.         An award of attorneys’ fees and costs; and

         D.         Such other relief as the Court deems just.


                                                 COUNT V

          Teresa Jackson - Violation of the Rehabilitation Act of 1973, 29 U.S.C. § 704

         1-19. Plaintiff incorporates by reference the paragraphs 1 through 19.

         20.        At all relevant times herein, Defendant received federal financial assistance in the

form of reimbursement from the federal Medicare and Medicaid programs and is therefore

subject to the anti-discrimination provisions of the Rehabilitation Act, as herein described.

         21.        At all times relevant herein, there was in full force and effect a statute known as

the Rehabilitation Act of 1973, 29 U.S.C. § 701 et sequitur, and its implementing regulations, 45

C.F.R. § 84.4(a). The Section 504 implementing regulation provides that "[n]o qualified

handicapped person shall, on the basis of handicap be excluded from participation in, be denied

                                                     20
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1                Page 21 of 28



the benefits of or otherwise be subjected to discrimination under any program or activity which

receives or benefits from Federal financial assistance." 45 C.F.R. § 84.4(a).

                    A. The regulation further provides:

                    "A recipient, in providing any aid, benefit, or service, may not, ... on the
                    basis of handicap: (ii) Afford a qualified handicapped person an
                    opportunity to participate in or benefit from the aid, benefit or service that
                    is not equal to that afforded others ...”

                    45 C.F.R. § 84.4(b)(1) (ii).

                    B. Elsewhere, the Section 504 regulation states:

                    “In providing health, welfare or other social services or benefits, a
                    recipient may not on the basis of handicap: … (2) Afford a qualified
                    handicapped person an opportunity to receive benefits or services that is
                    not equal to that offered non-handicapped persons.

                    46 C.F.R. § 84.52(a)(2).

                    C. In addition, “[a] recipient hospital that provides health services or benefits

shall establish a procedure for effective communication with persons with impaired hearing for

the purpose of providing emergency health care.” 45 C.F.R. § 84.52(c).

                    D. The regulation further provides:

                    “A recipient to which the subject applies that employs 15 or more persons
                    shall provide appropriate auxiliary aids to persons with impaired sensory,
                    manual, or speaking skills, where necessary to afford such persons an
                    equal opportunity to benefit from the service in question.”

                    45 C.F.R. § 84.52(d)(l).

                    E. The regulation provides that such “auxiliary aids may include interpreters…

and other aids for persons with impaired hearing… 45 C.F.R. § 84.52(d)(3).

                    F. The Section 504 regulation defines a person who has a disability as any person

who:




                                                      21
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1                Page 22 of 28



                    “(i) has a physical or mental impairment which substantially limits one or
                    more major life activities, (ii) has a record of such an impairment, or (iii)
                    is regarded as having such an impairment.”

                    45 C.F.R. § 84.3(j)(l)(i)-(iii).

                    G. A qualified person with a disability, with respect to the provision of health,

welfare and social services, is a person “who meets the essential eligibility requirements for the

receipt of such services.” 45 C.F.R. § 84.3(k)(4).

         22.        Through the acts and omissions alleged herein, UnityPoint has, solely on the basis

of Plaintiff’s disability, excluded Plaintiff from participating in its services, denied Plaintiff the

benefit of its services, denied Plaintiff the opportunity to participate in Robert’s healthcare, and

subjected Plaintiff to discrimination in violation of 29 U.S.C. § 794. et seq., and the regulations

promulgated thereunder, and have resulted in injury to Plaintiff.

         23.        At all relevant times herein, UnityPoint knew that Plaintiff had federally protected

rights to effective communication, and Defendant’s acts and omissions alleged herein violated

and continued to violate the Rehabilitation Act and its implementing regulations by one or more

or all of the following manners as defendant has discriminated against Teresa by:

                    A.      Denying her the opportunity for the full and equal enjoyment of the
                            services, privileges, advantages, or accommodations of the facilities
                            owned, operated and/or contracted for use by Defendant.

                    B.      Denying her the opportunity to participate in or benefit from the services,
                            facilities, privileges, advantages, or accommodations of Defendant’s
                            facilities.

                    C.      Offering or affording her services that are not equal to those services
                            afforded to other individuals who are not deaf.

                    D.      Failing to make reasonable modifications in policies, practices, or
                            procedures, which are necessary to afford its services to Plaintiff where
                            such modifications would not fundamentally alter the nature of its
                            services.



                                                       22
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1             Page 23 of 28



                    E.     Failing to establish a procedure for effective communication with Plaintiff
                           for the purpose of providing health care.

                    F.     Acting intentionally and with deliberate indifference in failing to provide
                           Plaintiff appropriate auxiliary aids and services, such as an on-site sign
                           language interpreter or effective video remote interpreting services, where
                           the taking of such steps would not fundamentally alter the nature of its
                           offered services or would not result in undue burden.

                    G.     Defendant has otherwise discriminated against the Plaintiff.

         24.        Section 505(a)(2) of the Rehabilitation Act, 29 U.S.C. § 794(a)(2), states that the

“remedies, procedures and that the rights set forth in title VI of the Civil Rights Act of 1964

[being 42 U.S.C. § 2000(d) et sequitur] shall be available” for violations of section 504 of the

Rehabilitation Act. By law, such remedies include compensatory monetary damages. Barnes v.

Gorman, 536 U.S. 181 (2002).

         25.        As a proximate result of Defendant’s violations of Section 504, UnityPoint has

inflicted injury and damages upon the Plaintiff, including loss of a civil right, mental anguish,

humiliation, and mental pain and suffering.

         26.        Plaintiff is entitled to reasonable attorneys’ fees and costs, pursuant to section

505(b) of the Rehabilitation Act, 29 U.S.C. § 794(a), as Defendant’s conduct has inflicted injury

and damages upon Plaintiff, including loss of a civil right, mental anguish, and mental pain and

suffering.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Teresa Jackson prays for the following relief:

                    A.     An order enjoining Defendant from discriminating against the Plaintiff,
                           requiring Defendant to (i) adopt and implement a legally compliant
                           communication access policy; (ii) make available to Plaintiff an array of
                           auxiliary aids and services; and (iii) provide its appropriate employees
                           training on its communication access policy, the proper utilization of
                           auxiliary aids and services and interacting with persons who are deaf;



                                                    23
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1             Page 24 of 28



                    B.     A declaration that Defendant is operating in a manner which discriminates
                           against the Plaintiff and that Defendant fails to provide communication
                           access to the Plaintiff as required by law;

                    C.     An award of compensatory monetary damages;

                    D.     An award of attorneys’ fees and costs; and

                    E.     Such other relief as the Court deems just.


                                               COUNT VI

 Teresa Jackson - Violation of Section 1557 of the Patient Protection and Affordable Care
                                  Act, 42 U.S.C. § 18116

         1-19. Plaintiff incorporates by reference paragraphs 1 through 19.

         20.        Since March 2010, there was in full force and effect a statute known as the Patient

Protection and Affordable Care Act (the “Affordable Care Act”), 42 U.S.C. § 18001, et seq.,

Pub.L. 111-148. Section 1557 of the Affordable Care Act prohibits discrimination on the basis of

race, color, national origin, sex, age, or disability in certain health programs and activities. 42

U.S.C. § 18116. Section 1557’s implementing regulations, 45 C.F.R. §§ 92.1 – 92.203, effective

as of July 18, 2016, apply to health programs or activities administered by recipients of Federal

financial assistance from the Department of Health and Human Services.

         21.        As Defendant participates in Medicare and Medicaid, it is a covered entity subject

to compliance with Section 1557.

         22.        The implementing regulations of Section 1557 prohibit discrimination of an

individual on the basis of disability, inter alia, and prohibit an individual from being excluded

from participation in, denied the benefits of, or otherwise be subjected to discrimination under

any health program or activity. See 45 C.F.R. § 92.101(a)(1). Those regulations, in pertinent part,

require covered entities to:



                                                    24
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1            Page 25 of 28



         A.         Take appropriate initial and continuing steps to notify beneficiaries, enrollees,
                    applicants and members of the public:

                    (1)    that the covered entity does not discriminate on the basis of race, color,
                           national origin, sex, age, or disability in its healthcare programs or
                           activities. 45 C.F.R. §92.8 (a)(1);

                    (2)    that the covered entity provides appropriate auxiliary aids and services,
                           including qualified interpreters for individuals with disabilities and
                           information in alternate formats, free of charge and in a timely manner,
                           when such aids and services are necessary to ensure an equal opportunity
                           to participate to individuals with disabilities. 45 C.F.R. §92.8 (a)(2);

                    (3)    how to obtain aids and services. 45 C.F.R. §92.8 (a)(4);

                    (4)    the identification of, and contact information for, the responsible
                           employee designated to be responsible for adoption of grievance
                           procedures. 45 C.F.R. §92.8 (a)(5);

                    (5)    the availability of grievance procedures and how to file a grievance
                           pursuant to §92.7(b). 45 C.F.R. §92.8 (a)(6); and

                    (6)    how to file a discrimination complaint with the Department of Health and
                           Human Services Office of Civil Rights. 45 C.F.R. §92.8 (a)(7).

         B.         That a covered entity shall take appropriate steps to ensure that communications
                    with individuals with disabilities are as effective as communications with others
                    in health programs and activities, in accordance with the standards found at 28
                    C.F.R. §§ 35.160 through 35.164. 45 C.F.R. § 92.202(a).

28 C.F.R. §§ 35.160 through 35.164 are the communication access standards required of public

entities under Title II of the ADA. Where those regulatory provisions use the term “public

entity,” the term “covered entity” shall apply in its place. See 45 C.F.R. § 92.202(a). As applied

to Section 1557 covered entities, the Title II regulations require them to “take appropriate steps

to ensure that communications with applicants, participants, members of the public, and

companions with disabilities are as effective as communications with others.” 28 C.F.R. §

35.160(a)(1). In addition, a covered entity “shall furnish appropriate auxiliary aids and services

where necessary to afford qualified individuals with disabilities, … companions, … an equal



                                                    25
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1         Page 26 of 28



opportunity to participate in, and enjoy the benefits of, a service, program or activity of a

[covered] entity,” 28 C.F.R. § 35.160(b)(1); and “[i]n determining what types of auxiliary aids

and services are necessary, a [covered] entity shall give primary consideration to the requests of

individuals with disabilities ….” 28 C.F.R. § 35.160(b)(2) (emphasis added). Those regulations

also proscribe a covered entity from requiring an individual with a disability to bring another

individual to interpret for him or her, 28 C.F.R. §35.160(c)(1); from relying on an adult

accompanying an individual with a disability to interpret or facilitate communication except in

an emergency involving an imminent threat to the safety or welfare of an individual or the public

where there is no interpreter available; or where the individual with a disability specifically

requests that the accompanying adult interpret or facilitate communication, the accompanying

adult agrees to provide such assistance, and reliance on that adult to provide such assistance is

appropriate under the circumstances, 28 C.F.R. § 35.160 (2)(i)&(ii); and from relying on a minor

child to interpret or facilitate communication, except in an emergency involving an imminent

threat to the safety or welfare of an individual or the public where there is no interpreter

available. 28 C.F.R. § 35.160(c)(3).

         23.        Defendant had a duty under Section 1557 to give primary consideration to

Plaintiff’s communication preference and provide them with an ASL interpreter, either on-site or

via effective VRI.

         24.        Defendant had a duty under Section 1557 to give primary consideration to

Plaintiff’s communication preference and provide her with an ASL interpreter, either on-site or

via effective VRI.

         25.        Defendant’s acts and omissions violated Section 1557 and its implementing

regulations as Defendant did not take appropriate steps to ensure that communications with



                                                26
3083791 (14162.1)
          3:19-cv-03123-JES-TSH # 1              Page 27 of 28



Plaintiff were as effective as communications with others in its healthcare services, and

Defendant failed to meet its obligations under Section 1557 and the standards found at 28 C.F.R.

§§ 35.160 through 35.164. 45 C.F.R. § 92.202(a).

         26.        Section 1557’s implementing regulations provide that the enforcement

mechanisms available for and provided under Title VI of the Civil Rights Act of 1964, Section

504 of the Rehabilitation Act, inter alia, shall be available for purposes of Section 1557 as

implemented by this part, and “compensatory damages for violations of Section 1557 are

available in appropriate administrative and judicial actions brought under this rule.” See 45

C.F.R. § 92.301.

         27.        Defendant’s conduct constituted violations of Section 1557.

         28.        Section 505(a)(2) of the Rehabilitation Act, 29 U.S.C. § 794(a)(2), states that the

“remedies, procedures and that the rights set forth in title VI of the Civil Rights Act of 1964

[being 42 U.S.C. § 2000(d) et sequitur] shall be available” for violations of section 504 of the

Rehabilitation Act. By law, such remedies include compensatory monetary damages. Barnes v.

Gorman, 536 U.S. 181 (2002).

         29.        Plaintiff is entitled to reasonable attorneys’ fees and costs, pursuant to section

505(b) of the Rehabilitation Act, 29 U.S.C. § 794a.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Teresa Jackson prays for the following relief:

         A.         An order enjoining Defendant from discriminating against the Plaintiff, requiring
                    Defendant to (i) adopt and implement a legally compliant communication access
                    policy; (ii) make available to Plaintiff an array of auxiliary aids and services; and
                    (iii) provide its appropriate employees training on its communication access
                    policy, the proper utilization of auxiliary aids and services and interacting with
                    persons who are deaf;




                                                     27
3083791 (14162.1)
            3:19-cv-03123-JES-TSH # 1             Page 28 of 28



           B.         A declaration that Defendant is operating in a manner which discriminates against
                      the Plaintiff and that Defendant fails to provide communication access to the
                      Plaintiff as required by law;

           C.         An award of compensatory monetary damages;

           D.         An award of attorneys’ fees and costs; and

           E.         Such other relief as the Court deems just.


                                      Plaintiffs Demand Trial by Jury.


Dated: May 8, 2019                            Robert Shinall and Teresa Jackson, Plaintiffs.

                                               /s/ Jennifer M. Sender
                                              ____________________________
                                              One of Their Attorneys

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                                                       28
  3083791 (14162.1)
